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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF DELAWARE

  SIGHT SCIENCES, INC.,                                  )
                                                         )           C. A. No.: 21-1317-GBW-SRF
                 Plaintiff,                              )
                                                         )           JURY TRIAL DEMANDED
                              V.                         )
                                                         )
  IVANTIS, INC. , ALCON RESEARCH LLC,                    )
  ALCON VISION, LLC AND ALCON INC.,                      )
                                                         )
                 Defendants.                             )

                        'jllRePOSFP] CLAIM CONSTRUCTION ORDER

          IT IS HEREBY ORDERED that the following terms in U.S. Patent Nos. 8,287,482 ("the

   ' 482 patent"), 9,370,443 ("the ' 443 patent"), 9,486,3 61 ("the ' 361 patent"), 10,314,742 ("the ' 742

   patent"), and 11 ,389,328 ("the '328 patent,") are construed as follows:

                         Term                                            Court's Construction
    "support"                                                Plain and ordinary meaning, i.e., "a structure
    ('482 patent, claims 1, 32, 63; ' 443 patent,            that props something open" or "a prop."
    claims 1, 58; ' 361 patent, claim 1; ' 742
    patent, claim 1; ' 328 patent, claim 1)
    "arcuate member"                                         "a structure having one or more curved
    ('443 patent, claims 1, 58; ' 361 patent, claim          portions"
    1; ' 742 patent, claim 1; '328 patent, claim 1)
    "fluid may traverse the canal without                    "the support does not significantly block
    substantial interference from the support" I             either fluid outflow from the trabecular
    "support does not substantially interfere with           meshwork or fluid outflow to the collector
    the [longitudinal / transmural] flow" / "does            channels."
    not significantly block fluid outflow"
    ('482 patent, claims 1, 32; '443 patent, claims
    1, 56, 57, 58; ' 361 patent, claims 6, 7, 8; ' 742
    patent, claims 17, 18; ' 32 8 patent, claims 7, 8)
    "wherein when the support is                             "wherein when the support is disposed within
    [disposed/inserted] within a cylindrical                 a section of Schlemm' s canal, the internal
    section of the lumen of the canal having an              wall surface area C of that section is
    internal wall surface area C, the support                estimated by viewing the inside of Schlemm' s
    contacts less than 30% of (the surface area ofJ          canal as a slightly arcuate cylinder having
    C"                                                       length L, extending circumferentially from a
    ('482 patent, claims 1, 32, 63 ; ' 443 patent,           first end X 1 to a second end X2 of the support,
    claims 1, 58; ' 742 patent, claim 13; '328               and inside radius Ri, and the support contacts
    patent, claim 21)                                        less than 30% of rthe surface area of] C."
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                          Term                                  Cou.rt's Construction
    "wherein at least a portion of the arcuate      Plain and ordinary meaning, i.e., at least a
    member has a radius of curvature smaller than portion of the arcuate member has a radius of
    the radius of curvature of Schlemm' s canal     curvature smaller than the radius of curvature
    [such that at least a portion of the arcuate    of Schlemm' s canal (which persons of
    member extends out of Schlemm' s canal]"        ordinary skill in the art knew or could
    ('443 patent, claims 1, 58; ' 361 patent, claim measure) [such that at least a portion of the
    1; '742 patent, claim 1; ' 328 patent, claim 1) arcuate member extends out of Schlemm' s
                                                    canal].
    "discontinuous along a perimeter of the lumen Plain and ordinary meaning, i.e., that contact
    of the canal"                                   between the support and a wall of the canal is
    ('482 patent, claims 1, 63)                     "interrupted by a non-contact point along a
                                                    perimeter of the lumen of the canal."
    "only a portion of the exterior surface of the  Plain and ordinary meaning, i.e., "only a
    support contacts an inner periphery of the      portion of the exterior surface of the support
    lumen of the canal"                             contacts an inner wall of the lumen of the
    (' 482 patent, claim 32)                        canal."
    "periodic contact"                              "contact that is interrupted by a non-contact
    ('482 patent, claims 7, 38, 69)                 point"
    "fluted edges"                                  "edges that are uneven"
    ('482 patent, claims 5, 36, 68)
    "multiple connected elements"                   No construction of this term is necessary.
    (' 482 patent, claims 18, 49, 73)



          SO ORDERED this       \   q1°11

                                                       United States District Judge




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